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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

TRISTAR PRODUCTS, INC,, et al,
Plaintiffs,
Vv.
NATIONAL EXPRESS, INC,, et al.,
Defendants.

TELEBRANDS CORP.,
Plaintiff,
¥.

RAGNER TECHNOLOGY CORPORATION,
et al.,

Defendants.

RAGNER TECHNOLOGY CORPORATION,
et al.,

Plaintiffs,
v.
TELEBRANDS CORPORATION, et al.,
Defendants.

TELEBRANDS CORP,,
Plaintiff,

¥.

RAGNER TECHNOLOGY CORPORATION,
et al.,

Defendants.

TELEBRANDS CORP,,
Plaintiff,
Vv.

RAGNER TECHNOLOGY CORPORATION,
et al.,

Defendants.

Civil Action No. 13-7752 (EP) (MAH)

Civil Action No. 15-3163 (EP) (MAH)

Civil Action No. 15-8185 (EP) (MAH)

Civil Action No. 16-3474 (EP) (MAH)

Civil Action No, 16-3594 (EP) (MAH)

ORDER GRANTING
PRO HAC VICE ADMISSION OF
PAUL M. SCHOENHARD, NICOLE
M. JANTZEL AND EMMA KOLESAR

THES MATTER having been brought before the Court by Tristar Products, Inc.

(“Tristar”), by and through its attorneys, Gibbons P.C., for entry of an Order admitting Paul M.

Schoenhard, Nicole M. Jantzi, and Emma Kolesar of the law firm Fried, Frank, Harris, Shriver &
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Jacobson LLP as counse! pro hac vice for Tristar pursuant to Local Civil Rule 101.1(c); and the
Court having considered the supporting certifications of counsel; and no parties having objected;
and for good cause shown,
yh

IT IS on this (4 day of September 2023, hereby

ORDERED that Tristar’s application is granted, and Paul M. Schoenhard, Nicole M.
Jantzi, and Emma Kolesar are admitted to practice pro hac vice before this Court pursuant to Local
Civil Rule 101.1(c) for ali purposes and in all proceedings connected with these actions; and it is
further

ORDERED that Paul M. Schoenhard, Nicole M. Jantzi, and Emma Kolesar shail comply
with Local Civil Rule 101.1(c) and abide by all rules of this Court, including all disciplinary rules,
and shall notify the Court immediately of any matter affecting counsel’s standing at the bar of any
court; and it is further

ORDERED that Paul M. Schoenhard, Nicole M. Jantzi, and Emma Kolesar shall make
payment to the New Jersey Lawyer’s Fund for Client Protection as provided by New Jersey Court
Rule 1:28-2(a) for each year in which counsel continues to represent Tristar in this matter; and it
is further

ORDERED that Paul M. Schoenhard, Nicole M, Jantzi, and Emma Kolesar shall make
payment of $150.00 to the Clerk, United States District Court, as required by Local Civ. R.
101,103)(c); and it is further

ORDERED that the Clerk of this Court shall forward a copy of this Order to the Treasurer
of the New Jersey Lawyers’ Fund for Client Protection; and it is further

ORDERED that all pleadings, briefs and other papers filed with the Court shall be signed

by an attorney-at-law of this Court associated with the law firm of Gibbons P.C., who shall be
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responsible for them and for the conduct of Paul M. Schoenhard, Nicole M. Jantzi, and Emma

Kolesar.

SO ORDERED

s/Michael A. Hammer
Agi Me NAC Hanne Wi8.M.5.M.J.

Date: cy i4|23

